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 5   Attorney for Defendant SHARIKA GAINES

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 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      No. 1:16-CR-0069 LJO-SKO

12                      Plaintiff,

13          v.                                   STIPULATION &
                                                 ORDER MODIFYING
14   SHARIKA GAINES, et al.                      PRETRIAL RELEASE CONDITIONS

15                      Defendants.

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19          Defendant, SHARIKA GAINES, by and through counsel of record, GALATEA DELAPP,

20   and Plaintiff, UNITED STATES OF AMERICA, by and through its counsel of record, KIM
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     SANCHEZ, Assistant United States Attorney for the Eastern District of California, hereby
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     stipulate as follows: WHEREAS, based upon recommendation of Pretrial Services and the
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     defendant’s exemplary compliance with all terms of ordered pretrial release, the parties are in
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     agreement and request this Court approve the following modified pretrial release conditions and
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26   modifying as follows:

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 1           IT IS HEREBY STIPULATED: Defendant SHARIKA GAINES requests that the
 2   following conditions be removed from her conditions of pre-trial release:
 3
             The defendant shall: participate in the following Location Monitoring component and
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     abide by all the requirements of the program, which will include use of a location monitoring
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     system. You shall comply with all instructions for use and operation of said devices as given to
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 7   you by the Pretrial Services Agency and employees of the monitoring company. You shall pay all

 8   or part of the costs of the program based upon your ability to pay as determined by the PSO.

 9   HOME DETENTION. You shall remain inside your residence at all times except for employment;
10   education; religious services; medical, substance abuse, or mental health treatment; attorney
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     visits; court appearances; court ordered obligations; or other activities pre-approved by the
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     pretrial services officer. All other pre-trial release conditions shall remain in full force and effect.
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15           IT IS SO STIPULATED.

16           Respectfully Submitted,

17           DATE: June 15, 2017                     /s/ Galatea DeLapp
                                                     Galatea DeLapp
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                                                     Attorney for Defendant SHARIKA GAINES
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             IT IS SO STIPULATED.
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             DATE: June 15, 2017                     /s/Kimberly A. Sanchez
21                                                   KIMBERLY A. SANCHEZ
                                                     Assistant U.S. Attorney
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 1

 2                                ORDER
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 4   IT IS SO ORDERED.
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     Dated:   June 16, 2017
 6                                            UNITED STATES MAGISTRATE JUDGE
                                        JUDGE STANLEY A. BOONE
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